       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 1 of 24 PageID #: 72922




                     ABC Diversion Control Program

                   The Sales Associate Role in Diversion Control




                                                         17-MDL-2804

                                                     PLAINTIFFS TRIAL
                                                         EXHIBIT
                                                   P-00193_00001


                                                                                             1
CONFIDENTIAL                                                                ABC-MSAGC00000 124
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                               ABDCMDL00000124
                                                                                 P-00193_00001
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 2 of 24 PageID #: 72923




                                                             Regulatory Responsibility

                            Title 21 of the Code of Federal Regulations:


                                  1301.71(a)- "All applicants and registrants
                                  shall provide effective controls and
                                  procedures to guard against theft and
                                  diversion of controlled substances."
                                   Distributors viewed as a "choke point."



              Copyright 2C07-Am21 isourceBergen - Not to be duplicated in v1hole or in pa1t withot1t the expi-~ss v1r1tten pe1rniss1or+ of Am21isouro:eB21ger+ Corprncttion




                                                                                                                                                                                               2
CONFIDENTIAL                                                                                                                                                                  ABC-MSAGCOOOOO 125
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                 ABDCMDL00000125
                                                                                                                                                                                    P-00193_00002
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 3 of 24 PageID #: 72924




                                    Regulatory Responsibility

                  • 21CFR1301.74 requires that registrants design and
                    operate systems to identify suspicious orders and report
                    suspicious orders to DEA when discovered.
                  • Reporting suspicious orders to DEA does NOT relieve the
                    distributor of the responsibility to maintain effective
                    controls to prevent diversion.
                  • DEA cannot tell a distributor if an order is legitimate or not
                    and usually will not tell the distributor whether or not to
                    ship.
                  • Distributor must make a "business decision" whether or
                    not to ship the order.




                                                                                                      3
CONFIDENTIAL                                                                         ABC-MSAGCOOOOO 126
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        ABDCMDL00000126
                                                                                           P-00193_00003
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 4 of 24 PageID #: 72925




                                                                                   Order Flow


                                         111111111111111111111111




                111111111111111111111•11111111111111111111:   111111111111111111111111111111


                                                              11111111111111111111111111111111111111111111111111:!---------




                                                                                                                                               4
CONFIDENTIAL                                                                                                                  ABC-MSAGCOOOOO 127
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 ABDCMDL00000127
                                                                                                                                    P-00193_00004
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 5 of 24 PageID #: 72926




                       Order Monitoring Program

                • Customers classified according to DEA business
                  activity.
                • Total monthly dollar volume= customer size
                • Thresholds= average of products dispensed of
                  like classified customers+ 300%.
                • Thresholds are continually evaluated based on
                  variables such as business model, location,
                  specialties, etc.




                                                                                             5
CONFIDENTIAL                                                                ABC-MSAGCOOOOO 128
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                               ABDCMDL00000128
                                                                                  P-00193_00005
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 6 of 24 PageID #: 72927




                        What is a suspicious order?


                 • Is the quantity being ordered unusually large?
                 • Does the order deviate substantially from a
                   normal pattern?
                 • Is the frequency of the order unusual?
                 • Is the item(s) being ordered high-risk, or
                   prone to diversion?




                                                                                             6
CONFIDENTIAL                                                                ABC-MSAGCOOOOO 129
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                               ABDCMDL00000129
                                                                                  P-00193_00006
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 7 of 24 PageID #: 72928




                      Suspicious Order Investigation
                     - Order flagged by OMP
                     - Unusual size, deviates substantially from a normal pattern,
                       unusual frequency, item type.
                     - Purchase history.
                     - Dollar volume/product mix.
                     - Ratio of CS to Non-CS purchases.
                     - Contact with customer.
                     - Is there a rationale for the order?
                     - Site visit.
                     - Responsibility not to ship a suspicious order.




                                                                                                      7
CONFIDENTIAL                                                                         ABC-MSAGCOOOOO 130
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        ABDCMDL00000130
                                                                                           P-00193_00007
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 8 of 24 PageID #: 72929




                      CSRA Investigation and Status
                 • As currently configured, orders that are sent
                   to CSRA for investigation are uploaded to
                   Metastorm about once an hour.
                 • CSRA reviews orders from 7 AM Eastern until
                   approximately 10 PM Eastern.
                 • If CSRA approves an order for release, the DC
                   will be notified by automated E-mail.
                 • If CSRA rejects an order that will be reported
                   to the DEA as suspicious, the order will be
                   held in the queue.




                                                                                             8
CONFIDENTIAL                                                                ABC-MSAGCOOOOO 131
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                               ABDCMDL00000131
                                                                                  P-00193_00008
       Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 9 of 24 PageID #: 72930




                      CSRA Investigation and Status

                 • Orders reported as suspicious are uploaded to
                   DEA HQ at 3 PM eastern each day.
                 • The process will change with the SAP
                   deployment and the procedure will be
                   updated as that occurs.




                                                                                             9
CONFIDENTIAL                                                                ABC-MSAGCOOOOO 132
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                               ABDCMDL00000132
                                                                                  P-00193_00009
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 10 of 24 PageID #: 72931




                     Requests for Threshold Review

                 • Requests for threshold review should be
                   submitted by the ACM or other responsibility
                   to the Director - Diversion Control Program.
                 • The request must be made in writing using the
                   proper form which can be found on the CSRA
                   web site or Street Smart.




                                                                                           10
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 133
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000133
                                                                                 P-00193_00010
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 11 of 24 PageID #: 72932




                       Criteria for Threshold Review

                Based upon sales volume and controlled
                substance (CS) ratio, CSRA has been able to place
                all retail pharmacy accounts into one of four
                categories, which determines how CSRA will
                approach adjustments to the account's
                established threshold levels.




                                                                                           11
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 134
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000134
                                                                                 P-00193_00011
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 12 of 24 PageID #: 72933




                       Criteria for Threshold Review

                Initial threshold levels for Retail Pharmacy
                Accounts are currently established by size:

                Retail Small -Total monthly dollar volume< $99 K.
                Retail Medium - Total monthly dollar volume
                $100K - $249,999.
                Retail Large - Total monthly dollar volume>
                $2SOK.




                                                                                           12
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 135
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000135
                                                                                 P-00193_00012
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 13 of 24 PageID #: 72934




                 ll Low Dollar Volume I Low CS Ratio: Customers
                 in this category are likely to be newly established
                 accounts. CSRA will consider raising threshold
                 levels within reason as long as total monthly
                 dollar volume rises along with its CS volume.

                 2) High Dollar Volume I Low CS
                 Ratio: Customers in this category are generally
                 Primary Accounts and not a concern. Threshold
                 levels can be raised once justification is provided.




                                                                                           13
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 136
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000136
                                                                                 P-00193_00013
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 14 of 24 PageID #: 72935




                 3) High Dollar Volume I High
                   CSRatio: Customers in this category are
                   generally Primary Accounts that specialize
                   in Pain Management. Since these
                   accounts already purchase a high
                   percentage of controlled substances (over
                   40o/o), CSRA will not increase current
                   threshold levels on these accounts without
                   an extensive review of the account's file
                   which may require an on-site inspection.




                                                                                           14
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 137
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000137
                                                                                 P-00193_00014
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 15 of 24 PageID #: 72936




                4) Low Dollar Volume I High CS Ratio: Customers in this
                category are generally Secondary Accounts, and account
                for the majority of the OMP issues. Sales, the VP/DCM,
                and potentially the RVP should closely evaluate the
                business decision to service these accounts:
                       a.) is there a potential to transition this secondary
                account to primary; or
                       b.) is ABC assisting/enabling its competitor 1s to retain
                primary accounts by providing these accounts with 11 high
                risk 11 controlled substances because the primary
                distributor has limited the account's controlled substance
                quantities to limit its exposure?




                                                                                                   15
CONFIDENTIAL                                                                       ABC-MSAGCOOOOO 138
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                      ABDCMDL00000138
                                                                                         P-00193_00015
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 16 of 24 PageID #: 72937




                  CSRA will not increase threshold levels on these
                  accounts unless there is: an increase in the
                  customer's total monthly dollar volume; a
                  decrease in CS ratio; an extensive review of the
                  account file; and most likely an on-site
                  inspection.




                                                                                           16
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 139
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000139
                                                                                 P-00193_00016
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 17 of 24 PageID #: 72938




                           New Customer Due Diligence

                • The questions are there for a reason - Answer all!
                • Unanswered questions slow the process.
                • 05 - Start up, Existing Business, Suppliers.
                • 08 - Full disclosure.
                • Ql0-14- Ownership.
                • 022 - Distribution and the retail pharmacy.
                • 031- Unless a start-up should have data.
                • Signatures   I   photographs




                                                                                           17
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 140
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000140
                                                                                 P-00193_00017
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 18 of 24 PageID #: 72939




                                       Red Flag




                                                                                           18
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 141
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000141
                                                                                 P-00193_00018
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 19 of 24 PageID #: 72940




                                                                                           19
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 142
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000142
                                                                                 P-00193_00019
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 20 of 24 PageID #: 72941




                                       Red Flag




                                                                                           20
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 143
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000143
                                                                                 P-00193_00020
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 21 of 24 PageID #: 72942




                                       Red Flag




                                                                                           21
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 144
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000144
                                                                                 P-00193_00021
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 22 of 24 PageID #: 72943




                       Coming to a State Near You!




                                                                                           22
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 145
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000145
                                                                                 P-00193_00022
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 23 of 24 PageID #: 72944




              1xgxmwwwe1mm1· 1wrHrn1w=·1r:1:n;····<····;::~·::··········11···············:.:iiBP•i¥11 ~:tfiWI                                                                                                                                                   .

                                !i;:l:)l:~lm.~i:!· =l·:ijlfli,1l,: ': ~Jlil 1 i1i 1 i]1~1 ~
                                                                                        :·.';::.-...:~~~~:3                   .j~~~•.~1~!-~~~~"?:..·~o. j                                                                          .: : ~!
                                                                                        :·""°, <:> ....,;~·~,:· ..., .,~V•)    954:·49;:·aaao i
                                                                                       ~;~:~;:~~~\~~,:~~~~"~                  ··""[~~.:;'~.::~·~:"~.::;;~";::.v"":. ~.~.:.·.~::·.: ::.~'.·)~.~t~i~_:,~::~: ...
                                                                                                                                    •..vw.J...·:· ~"··~::::'.'.'::::;;....r......:   . . ...
                                                                                                                                                                                       ~                            ........-.,,._.;...."~·
                                                                                                                                                                                               ·~fl.'••·-..··"'-~'>"'


                                   "'""'
                                 ,·,~··'•""·~ ,..~
                                                         '    ........... .
                                                   ....,,,._,,,,,<f.:••·l•'<""b'."''
                                                                                                                                 ,...,•.,,,..•~u •           '       ._..,_,,,.,_._.,...,. ~;;:~;,~;~~;~;;~;·;;:;'..':.~·.<:·

                                 !~J.:1'6"S»:J)~

                                 ~:,,~~·:~~:{::~i,'.
                                  _______ .. __ ..   ~~-'    .
                                                       ____________ _
                                 W.-lfr.<'o,•• ~:~~tunt
                                 ,;,...,.d«re.n;,,,,~,:x
                                                              ._,,;,{f,••"\~
                                                              .. wal•                                                                                                                                                                           .::::::::
                                                                                                                                                                                                                                              ·:·:·:·:·:·:.:·
                                 1:.ill:odC>)l39ln''·lD5-0




                                 P.iis>~~:\100',.\Tirii:r.:V.(-.i,i ..
                                 ::··.~:·:· :·:· :>':' .· ..·_,, "' '
                                 ~ix;.~ K1:.Cki~Ck                ..
                            '.~ ~~~~:~~~~~~~;';r:%lN


                            i
                            :S ~:~~.~:::j;=:~:i:~·;:0;;;.:,:.;, ..



                           I i'·~:~i.~'i:U9'o                                          ~~~~~~~~



              'C"""""""""""";=~¥~u;~::r;[;,,,,PEMTIITFHH\NITT!,fWmmw~Mh;:::.;,;pM'''''.·''~}mj.
                                                                                        INl)llo:N!inNl:"('C.K6t'l!tNt~("6elll!U)tavHoee
                                                                                                   ~L.>..'JOltl<'(l'Q)O;""J'("""<l•N'<" .....I«
                                                                                            ,_..,,..,,.~_,....,,9,.!i::t-,.!t~~~~,1?~ .. ,,.........,...,.u




                                                                                                                                                                                                                                                                      23
CONFIDENTIAL                                                                                                                                                                                                                                          ABC-MSAGCOOOOO 146
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                         ABDCMDL00000146
                                                                                                                                                                                                                                                            P-00193_00023
      Case 3:17-cv-01362 Document 1509-17 Filed 01/12/22 Page 24 of 24 PageID #: 72945




                          Corporate OMP Contacts

                 • Ed Hazewski - 610-727-3680
                    After hours emergency - 302-584-2932
                 • Dave Breitmayer - 610-727-7223
                 • Kevin Kreutzer - 610-727-2726
                 • Joe Tomkiewicz - 815-221-3612 (Chicago DC)




                                                                                           24
CONFIDENTIAL                                                               ABC-MSAGCOOOOO 14 7
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                              ABDCMDL00000147
                                                                                 P-00193_00024
